Case 3:19-cv-00418-REP-RCY Document 18 Filed 03/05/20 Page 1 of 4 PageID# 82




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                             Richmond Division


UHURU BAKAEIA ROWE,

     Plaintiff,

V.                                           Civil Action No. 3:19CV418

GREGORY L. HOLLOWAY, ^ al.,

     Defendants.



                          MEMORANDUM OPINION


     By Memorandum Order entered on October 9, 2019, the Court

conditionally docketed the action.        Ukuru Bakara Rowe requested

leave to proceed ^ forma pauperis.         By Memorandum Order entered

on November 8, 2019, the Court directed Rowe to pay an initial

partial filing fee of $17.75 or state under penalty of perjury

that he did not have sufficient assets to pay such a fee within

eleven (11) days of the date of entry thereof.              See 28 U.S.C.

§ 1915(b)(1). Because Rowe neither paid the initial partial filing

fee nor averred that he could not pay such a fee, the Court found

that he was not entitled to proceed ^ forma pauperis, and by

Memorandum   Opinion   and    Order   entered    on   December   10,   2019,

dismissed the action without prejudice for failing to follow the

directions of the Court.

     On January 2, 2020, Rowe filed a MOTION FOR RELIEF FROM ORDER

OR IN ALTERNATIVE MOTION TO RECONSIDER in which he contends he did
Case 3:19-cv-00418-REP-RCY Document 18 Filed 03/05/20 Page 2 of 4 PageID# 83



not receive the November 8, 2019 Memorandum Order directing him to

pay the initial partial filing fee of $17.75.        (EOF No. 15, at 2.)

Instead, Rowe contends that he only learned of the Memorandum Order

on December 18, 2019 when he received the Memorandum Opinion and

Order dismissing the action. (I^) Thus, Rowe claims that he was

unaware of the Court's directive to pay the initial partial filing

fee of $17.75.   Rowe asks the Court to vacate the dismissal of his

action, and "issue a new Order directing [Plaintiff] to file a

partial filing fee."    (Id.)

       By Memorandum Order entered on January 27, 2020, the Court

noted that Rowe's MOTION FOR RELIEF FROM ORDER OR IN ALTERNATIVE

MOTION TO RECONSIDER was not accompanied by the $17.75 initial

partial filing fee that Rowe has been very aware was due to the

Court since December 18, 2019.      The Court explained that, at that

juncture, it would take no action on the motion.       The Court further

explained that, in order to obtain the relief he seeks, Rowe must

comply with the directive to pay the $17.75.          The Court ordered

Rowe to pay the initial partial filing fee of $17.75 within eleven

(11) days of the date of entry thereof.          The Court warned Rowe

that if he failed to submit the initial partial filing fee within

that time the Court would deny the motion.

       On February 3, 2020, Rowe paid the initial partial filing

fee.    Because the MOTION FOR RELIEF FROM ORDER OR IN ALTERNATIVE

MOTION TO RECONSIDER was filed within twenty-eight days of the
Case 3:19-cv-00418-REP-RCY Document 18 Filed 03/05/20 Page 3 of 4 PageID# 84



Memorandum Opinion and Ord^r, the Court construes this motion as
one brought pursuant to Federal Rule of Civil Procedure 59(e)

("Rule 59(e) Motion.")

     The United States Court of Appeals for the Fourth Circuit

recognizes three grounds for relief under Rule 59(e):             "(1) to

accommodate an intervening change in controlling law; (2) to

account for new evidence not available at trial; or (3) to correct

a clear error of law or prevent manifest injustice."           Hutchinson

v. Staton, 994 F.2d 1076, 1081 (4th Cir. 1993) (citing Weyerhaeuser

Corp. V. Koppers Co., 771 F. Supp. 1406, 1419 (D. Md. 1991); Atkins

V. Marathon LeTourneau Co., 130 F.R.D. 625, 626 (S.D. Miss. 1990)).

Although Rowe fails to identify under which section he brings his
motion, he appears to rely upon the third ground.

     Rowe contends that he did not receive the November 8, 2019

Memorandum Order directing him to pay the initial partial filing

fee of $17.75 and that he was unaware of the Court's directive to

pay the initial partial filing fee of $17.75. (Rule 59(e) Mot. 2.)

Rowe satisfies Rule 59(e) in that he demonstrates adequately that

vacating the December 10, 2019 dismissal is necessary to prevent
a manifest injustice.      Accordingly, the Rule 59(e) Motion (ECF

No. 15) will be granted.     The Court will vacate the December 10,

2019 Memorandum Opinion and Order dismissing the case and will

place this action back on the active docket.
Case 3:19-cv-00418-REP-RCY Document 18 Filed 03/05/20 Page 4 of 4 PageID# 85



     The Clerk is directed to send a copy of this Memorandum

Opinion to counsel of record.

     It is so ORDERED.
                                                   /s/
                                  Robert E. Payne
                                  Senior United States District Judge

Richmond, Virginia
Date: ^/iA        ,)         ^
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